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          [ORAL ARGUMENT SCHEDULED FOR MAY 16, 2025]
                            Nos. 25-5091, 25-5132

             IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

        NATIONAL TREASURY EMPLOYEES UNION, et al.,
                                                               Appellees,
                                   v.
RUSSELL VOUGHT, in his official capacity as Acting Director of the Consumer
                 Financial Protection Bureau, et al.,
                                                              Appellants.

  On Appeal from the United States District Court for the District of Columbia

  NOTICE OF INTENT OF CURRENT AND FORMER MEMBERS OF
  CONGRESS TO PARTICIPATE AS AMICI CURIAE IN SUPPORT OF
                       APPELLEES


                                           Elizabeth B. Wydra
                                           Brianne J. Gorod
                                           Miriam Becker-Cohen
                                           Anna K. Jessurun
                                           CONSTITUTIONAL
                                             ACCOUNTABILITY CENTER
                                           1200 18th Street NW, Suite 501
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                                           (202) 296-6889
                                           brianne@theusconstitution.org

                                           Counsel for Amici Curiae
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                  CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure, amici

curiae state that no party to this brief is a publicly held corporation, issues stock, or

has a parent corporation.
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 NOTICE OF INTENT AND REPRESENTATION OF CONSENT TO FILE
                   BRIEF OF AMICI CURIAE

      Pursuant to D.C. Circuit Rule 29 and the guidance set forth in Section

IX.A.4 of the Court’s Handbook of Practice and Internal Procedure, Current and

Former Members of Congress hereby give notice that they intend to file a brief as

amici curiae in support of Appellees. A full listing of amici is included in the

Appendix to this notice. All parties have consented to the filing of this brief.

                                        Respectfully submitted,

                                        /s/ Brianne J. Gorod
                                        Elizabeth B. Wydra
                                        Brianne J. Gorod
                                        Miriam Becker-Cohen
                                        Anna K. Jessurun
                                        CONSTITUTIONAL
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                                        Counsel for Amici Curiae

Dated: May 9, 2025
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                              APPENDIX
                              List of Amici
                     Current Members of Congress
                          Sen. Elizabeth Warren
                           Rep. Maxine Waters
                         Sen. Charles E. Schumer
                          Rep. Hakeem Jeffries
                          Sen. Richard J. Durbin
                          Sen. Amy Klobuchar
                            Sen. Cory Booker
                            Sen. Mark Warner
                          Sen. Bernard Sanders
                          Sen. Tammy Baldwin
                       Sen. Catherine Cortez Masto
                            Sen. Brian Schatz
                        Sen. Christopher Murphy
                         Sen. Angela Alsobrooks
                          Sen. Michael Bennet
                        Sen. Richard Blumenthal
                        Sen. Lisa Blunt Rochester
                           Sen. Maria Cantwell
                            Sen. Chris Coons
                         Sen. Tammy Duckworth
                           Sen. John Fetterman
                           Sen. Ruben Gallego
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                         Sen. Kirsten Gillibrand
                           Sen. Maggie Hassan
                          Sen. Martin Heinrich
                         Sen. John Hickenlooper
                           Sen. Mazie Hirono
                             Sen. Tim Kaine
                            Sen. Mark Kelly
                             Sen. Andy Kim
                           Sen. Ben Ray Luján
                            Sen. Ed Markey
                         Sen. Jeffrey A. Merkley
                            Sen. Patty Murray
                             Sen. Jon Ossoff
                            Sen. Alex Padilla
                           Sen. Gary C. Peters
                             Sen. Jack Reed
                            Sen. Jacky Rosen
                          Sen. Adam B. Schiff
                          Sen. Jeanne Shaheen
                           Sen. Elissa Slotkin
                            Sen. Tina Smith
                          Sen. Chris Van Hollen
                         Sen. Raphael Warnock
                            Sen. Peter Welch
                        Sen. Sheldon Whitehouse
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                            Sen. Ron Wyden
                          Rep. Katherine Clark
                            Rep. Pete Aguilar
                             Rep. Ted Lieu
                            Rep. Joe Neguse
                        Rep. Alma S. Adams, PhD
                             Rep. Gabe Amo
                          Rep. Yassamin Ansari
                          Rep. Jake Auchincloss
                            Rep. Becca Balint
                       Rep. Nanette Diaz Barragán
                            Rep. Joyce Beatty
                            Rep. Wesley Bell
                             Rep. Ami Bera
                           Rep. Donald Beyer
                          Rep. Sanford Bishop
                         Rep. Suzanne Bonamici
                         Rep. Brendan F. Boyle
                           Rep. Shontel Brown
                           Rep. Julia Brownley
                          Rep. Nikki Budzinski
                           Rep. Janelle Bynum
                           Rep. Andre Carson
                         Rep. Troy A. Carter, Sr.
                              Rep. Ed Case
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                            Rep. Sean Casten
                            Rep. Kathy Castor
                           Rep. Joaquin Castro
                     Rep. Sheila Cherfilus-McCormick
                              Rep. Judy Chu
                       Rep. Gilbert R. Cisneros, Jr.
                           Rep. Yvette Clarke
                         Rep. Emanuel Cleaver, II
                           Rep. James Clyburn
                            Rep. Steve Cohen
                       Rep. Herb Conaway, Jr., MD
                         Rep. Gerald E. Connolly
                           Rep. J. Luis Correa
                            Rep. Joe Courtney
                            Rep. Angie Craig
                          Rep. Jasmine Crockett
                             Rep. Jason Crow
                          Rep. Danny K. Davis
                          Rep. Madeleine Dean
                           Rep. Diana DeGette
                          Rep. Rosa L. DeLauro
                         Rep. Suzan K. DelBene
                           Rep. Chris Deluzio
                          Rep. Mark DeSaulnier
                           Rep. Maxine Dexter
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                           Rep. Debbie Dingell
                           Rep. Lloyd Doggett
                            Rep. Sarah Elfreth
                         Rep. Veronica Escobar
                          Rep. Adriano Espaillat
                           Rep. Dwight Evans
                            Rep. Cleo Fields
                          Rep. Shomari Figures
                           Rep. Lizzie Fletcher
                             Rep. Bill Foster
                          Rep. Valerie Foushee
                            Rep. Lois Frankel
                          Rep, Laura Friedman
                      Rep. Maxwell Alejandro Frost
                          Rep. John Garamendi
                       Rep. Jesús G. “Chuy” García
                           Rep. Robert Garcia
                           Rep. Sylvia Garcia
                          Rep. Daniel Goldman
                           Rep. Jimmy Gomez
                         Rep. Vicente Gonzalez
                        Rep. Maggie Goodlander
                          Rep. Josh Gottheimer
                              Rep. Al Green
                           Rep. Jahana Hayes
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                             Rep. James Himes
                            Rep. Steven Horsford
                           Rep. Chrissy Houlahan
                              Rep. Steny Hoyer
                            Rep. Jared Huffman
                             Rep. Glenn F. Ivey
                          Rep. Jonathan L. Jackson
                              Rep. Sara Jacobs
                            Rep. Pramila Jayapal
                     Rep. Henry C. (“Hank”) Johnson, Jr.
                             Rep. Julie Johnson
                             Rep. Marcy Kaptur
                            Rep. William Keating
                            Rep. Robin L. Kelly
                         Rep. Timothy M. Kennedy
                              Rep. Ro Khanna
                          Rep. Raja Krishnamoorthi
                            Rep. Greg Landsman
                            Rep. John B. Larson
                            Rep. George Latimer
                             Rep. Summer Lee
                               Rep. Susie Lee
                        Rep. Teresa Leger Fernandez
                              Rep. Mike Levin
                            Rep. Sam T. Liccardo
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                            Rep. Zoe Lofgren
                          Rep. Stephen F. Lynch
                           Rep. Seth Magaziner
                           Rep. John Mannion
                            Rep. Doris Matsui
                           Rep. Sarah McBride
                       Rep. April McClain Delaney
                        Rep. Jennifer L. McClellan
                          Rep. Betty McCollum
                       Rep. Kristen McDonald Rivet
                         Rep. Morgan McGarvey
                         Rep. James P. McGovern
                          Rep. LaMonica McIver
                         Rep. Gregory W. Meeks
                         Rep. Robert J. Menendez
                            Rep. Grace Meng
                           Rep. Kweisi Mfume
                             Rep. Dave Min
                            Rep. Gwen Moore
                           Rep. Joseph Morelle
                           Rep. Kelly Morrison
                          Rep. Jared Moskowitz
                            Rep. Seth Moulton
                            Rep. Frank Mrvan
                            Rep. Kevin Mullin
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                           Rep. Jerrold Nadler
                            Rep. Richard Neal
                          Rep. Donald Norcross
                       Rep. Eleanor Holmes Norton
                      Rep. Alexandria Ocasio-Cortez
                             Rep. Ilhan Omar
                            Rep. Nancy Pelosi
                             Rep. Scott Peters
                          Rep. Brittany Pettersen
                           Rep. Chellie Pingree
                            Rep. Mark Pocan
                             Rep. Nellie Pou
                          Rep. Ayanna Pressley
                            Rep. Mike Quigley
                          Rep. Delia C. Ramirez
                           Rep. Emily Randall
                            Rep. Jamie Raskin
                             Rep. Luz Rivas
                          Rep. Deborah K. Ross
                           Rep. Andrea Salinas
                           Rep. Linda Sanchez
                         Rep. Mary Gay Scanlon
                          Rep. Jan Schakowsky
                          Rep. Bradley Schneider
                             Rep. David Scott
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                       Rep. Robert C. “Bobby” Scott
                            Rep. Terri Sewell
                           Rep. Brad Sherman
                            Rep. Mikie Sherrill
                            Rep. Adam Smith
                         Rep. Melanie Stansbury
                            Rep. Greg Stanton
                           Rep. Haley Stevens
                         Rep. Marilyn Strickland
                         Rep. Suhas Subramanyam
                            Rep. Tom Suozzi
                            Rep. Eric Swalwell
                            Rep. Emilia Sykes
                            Rep. Mark Takano
                           Rep. Shri Thanedar
                        Rep. Bennie G. Thompson
                          Rep. Mike Thompson
                            Rep. Rashida Tlaib
                             Rep. Jill Tokuda
                           Rep. Paul D. Tonko
                           Rep. Norma J. Torres
                           Rep. Ritchie Torres
                             Rep. Lori Trahan
                           Rep. Derek T. Tran
                            Rep. Juan Vargas
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                         Rep. Nydia M. Velázquez
                          Rep. Eugene Vindman
                      Rep. Debbie Wasserman Schultz
                       Rep. Bonnie Watson Coleman
                          Rep. Nikema Williams
                         Rep. Frederica S. Wilson
                      Former Members of Congress
                             Sen. Chris Dodd
                            Rep. Barney Frank
                            Rep. Melvin Watt
                          Rep. Paul E. Kanjorski
                             Rep. Brad Miller
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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the D.C. Circuit by using the

appellate CM/ECF system on May 9, 2025.

      I certify that all participants in the case are registered CM/ECF users and

that service will be accomplished by the appellate CM/ECF system.

      Executed this 9th day of May, 2025.

                                              /s/ Brianne J. Gorod
                                              Brianne J. Gorod
                                              Counsel for Amici Curiae
